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                                                    UNITED STATES DISTRICT COURT
                                                   CENTRAL DISTRICT OF CALIFORNIA

                                                    CRIMINAL MINUTES - GENERAL


Case No.         CR 14-436-UA                                                  Date        August 4, 2014


Present: The Honorable             DOLLY M. GEE, UNITED STATES DISTRICT JUDGE
Interpreter       N/A
              KANE TIEN                                                                             ANDREW BROWN
              Deputy Clerk                                  Court Reporter                          Assistant U.S. Attorney

U.S.A. v. Defendant(s):                   Present   Cust.     Bond    Attorneys for Defendants:          Present   App.    Ret.

Yair Shoshani                                Not      X               James W. Spertus                     Not              X




Proceedings:
                 IN CHAMBERS – ORDER REVIEWING AND VACATING MAGISTRATE
                 JUDGE’S BAIL ORDER AND ORDERING DETENTION OF DEFENDANT


           On July 28, 2014, the Government filed an “Application to the Criminal Duty Judge
    for Review of Magistrate Judge’s Bail Order.” [Doc. # 27.] The parties have filed their
    Joint Statement, briefs, transcripts from prior hearings before the Magistrate Judge, and other
    documents in support of their respective positions.1 [Doc. ## 34, 35, 36, 37.] The matter
    came before this Court for hearing on July 30, 2014.

          The Court has carefully reviewed and considered the pretrial services reports and all of
    the materials provided by the parties prior to the July 30th hearing, as well as the arguments
    of counsel at that hearing.

          Having reviewed this matter de novo in accordance with 18 U.S.C. § 3142(g), and
    discounting certain assertions that the Government made which the Magistrate Judge
    properly determined were inaccurate, the Court finds that the Government has demonstrated



                       1
                        On August 1, 2014, the Government filed a supplement to its application for bail review. [Doc. # 39.] As the
              supplement was filed without leave of the Court and Defendant has objected to it, the Court has not relied upon it and did
              not consider it in reaching its decision.

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by a preponderance of the evidence that there are no conditions, or combination of
conditions, that will reasonably assure the appearance of Defendant as required.2

      In determining whether to detain the defendant or set conditions of release, the Court
has considered the fact that Defendant has no prior criminal convictions, is a longtime
resident of the Central District of California, has familial and economic ties to this
community, and has significant bail resources.

      Nonetheless, the Court finds that the following countervailing factors weigh in favor of
detention:

               1. The nature and circumstances of the offense charged;
               2. Defendant’s history of travel to foreign countries, including Israel, Russia,
                  Morocco, Brazil, England, Spain, Switzerland, and Panama, with familial or
                  economic ties to at least Israel, Russia, England, Switzerland, and Panama;
               3. Defendant’s active plans to leave the country and move to Israel shortly
                  before his arrest [see, e.g., Doc. # 34, Exh. B at 1, Exh. C at 1];
               4. Defendant’s use of assumed names for both personal and business matters,
                  such that it raises the inference that Defendant has been leading a “double
                  life” [see, e.g., Doc. # 34, Exh. B at 3, Exh. C at 1];3 and
               5. Defendant’s lack of candor to Pretrial Services about the extent of his assets
                  and his places of travel.

       Of the factors listed above, Defendant’s lack of candor weighs most heavily on the
Court. For example, according to the July 22, 2014 Pretrial Services Report, Defendant
failed to disclose that he is the principle of Elevation Development Group, LLC, through
which he owns at least five condominiums in the United States, free and clear. He also was
not forthcoming with Pretrial Services regarding the fact that he has financial accounts in at
least three foreign countries or that he had traveled to Panama and Switzerland in the past.
Defendant did not challenge the accuracy of this information either in his written submissions
or at oral argument.


               2
                 Defendant has not been charged with any of the offenses identified in 18 U.S.C. § 3142(f)(1). Therefore, the
      only issue before this Court is whether Defendant presents a serious risk of flight, not whether he poses a danger to the
      community. See, e.g., United States v. Twine, 344 F.3d 987 (9th Cir. 2003) (per curiam).
               3
                 The Federal Rules of Evidence do not apply to the presentation and consideration of information at bail review
      hearings. 18 U.S.C. § 3142(f)(2)(B). Thus, both the Government and Defendant may present evidence by proffer or
      hearsay. United States v. Winsor, 785 F.2d 755, 756 (9th Cir. 1986) (per curiam). The Court considers the Government’s
      proffer of hearsay statements made by Defendant’s alleged anonymous accomplices and others, especially where
      Defendant’s own statements or conduct provide some measure of corroboration.
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      Although Defendant has identified several people who are willing to serve as sureties
and the proposed bail amount ($857,000) is sizeable in an abstract sense, this does not
outweigh the factors militating towards detention in the context of this case. Given the
material omissions regarding the scope of Defendant’s assets of which the Court is currently
aware, the Court does not find that the proposed bail amount will reasonably assure
Defendant’s appearance. Furthermore, electronic monitoring provides no assurance that
Defendant will not flee. Most importantly, Defendant’s lack of candor with Pretrial Services
and, by extension, the Court, undermines any assurance he may give that he will comply with
the Court’s orders or conditions of release.

     The Magistrate Judge’s July 25, 2014 bond order is VACATED. The Court orders that
Defendant be detained.

       IT IS SO ORDERED.




cc: USM
    PSA
    Criminal Intake


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